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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA
COLUMBUS DIVISION

ANTHONY WHITAKER and
JACQUELINE WILLIAMS, as Surviving
Parents of Marquis A. Whitaker, Deceased,
and ANTHONY WHITAKER, as
Administrator of the Estate of Marquis

A. Whitaker,

CIVIL ACTION FILE
NO.: 4:05CV78

Plaintiffs,

Vv.

KELLOGG BROWN & ROOT, INC.,
ESTATE OF QUAISAR KAHN, and
HUSSAIN KIZHIKKINAM,

Defendants.

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DEFENDANT KELLOGG BROWN & ROOT, INC.’"S MEMORANDUM IN
SUPPORT OF MOTION TO DISMISS PURSUANT TO RULE 12(B)

Defendant Kellogg Brown & Root, Inc. (“KBR”), through undersigned counsel, hereby
files this memorandum in support of its motion pursuant to Rule 12 of the Federal Rules of Civil
Procedure to dismiss the underlying complaint. KBR moves the Court to dismiss the case as
non-justiciable under the political question doctrine, Baker v. Carr, 369 U.S. 186 (1962), as well
as preempted by the federal law interpreting the “combatant activities” exception to the Federal
Tort Claims Act (“FTCA”), 28 U.S.C. 2680(); see Koohi v. United States, 976 F.3d 1328 (9th
Cir. 1992); Bentzlin v. Hughes Aircraft, 833 F. Supp. 1486 (C.D. Cal. 1993).

I. INTRODUCTION

Plaintiffs seek to recover damages for the death of Private First Class Marquis A.
Whitaker (“PFC Whitaker’), who served in the United States Army in Iraq and who was killed

on April 27, 2004, while escorting a military supply convoy from Al Kut to the U.S. military’s
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Convoy Support Center in Scania, Iraq. The Court should dismiss the claims raised by Plaintiffs
for two reasons. First, under the political question doctrine, courts lack jurisdiction over
“political” questions, particularly those involving military decision-making in combat scenarios.
If the Court permits Plaintiffs’ action to proceed, it ultimately will have to substitute its judgment
for that of the U.S. military, including PFC Whitaker, relating to strategic and tactical decisions
made in a combat zone. It is just such a scenario that the political question doctrine is intended
to prevent. As the Supreme Court has made clear: “Trained professionals, subject to the day-to-
day control of the responsible civilian authorities, necessarily must make comparative judgments
on the merits as to evolving methods of training, equipping, and controlling military forces with
respect to their duties under the Constitution. It would be inappropriate for a district judge to
undertake this responsibility in the unlikely event that he possessed requisite technical
competence to do so.” Gilligan v. Morgan, 413 U.S. 1, 8 (1973).

Second, the FTCA’s combatant activities exception, which shields the U.S. government
from tort liability arising out of military activities during time of war, also has been interpreted to
protect the military’s defense contractors, like KBR, which provide essential services to the
armed forces of the United States. In Koohi, the Ninth Circuit concluded that this exception
served to preempt state tort causes of action brought by foreign civilians against a defense
contractor. In Bentzlin, this principle was applied to preempt state tort causes of action brought
by U.S. military personnel against a defense contractor, just as claims of negligence have been
made against KBR in this case. Given that Plaintiffs' Complaint in this case inevitably requires

this Court to second-guess and substitute its judgment for the U.S. military’s decision-making in
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the conduct of the war in Iraq, both the combatant activities exception and the political question

doctrine apply and each provides an independent basis for dismissal.’

More specifically, if it permits this action to proceed, the Court will be asked to substitute
its judgment for that of the military in at least the following areas:

° Whether the military’s procedures, or lack thereof, for accompanying supply convoys in a
combat zone were adequate and reasonable under the exigent circumstances, 1.e., the
threat of insurgent attacks, of April 27, 2004, the date of this incident?

° Whether the military’s policies regarding convoys were adequate and reasonable and
properly balanced the risks of attack and the need to satisfy military supply requirements
with the risks of driving vehicles in close proximity at designated speeds?

e Whether the military’s training of its military escorts, was sufficient to allow such escorts
safely to accompany convoy vehicles used in a combat zone in Iraq?

° Whether the instructions, or lack thereof, given to military escorts on April 27, 2004,
regarding the road conditions, convoy speed, and convoy configuration were adequate to

address the convoy incident in question?

' In addition to these grounds, KBR expressly reserves the right to assert other bases for
dismissal should the Court decline to dismiss this suit for the reasons asserted herein.
Particularly, any further prosecution or defense of this case may trigger the protections of the
state secrets privilege because classified information may have been implicated regarding the
supply needs of the United States military, its procedures for intelligence gathering and threat
assessment, and its rules and protocols regarding force protection provided to civilian
contractors. See United States v. Reynolds, 345 U.S. 1 (1953); Zuckerbraun y. General
Dynamics Corp., 935 F.2d 544 (2d Cir. 1991).
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° Whether military needs and tactical concerns justified the military’s decision to retain the
Iraqi drivers, notwithstanding the requests from the military escorts that the drivers be
replaced because of their inexperience and questionable driving skills?

° Whether the instructions and training given to PFC Whitaker by the military regarding
the use of body armor were adequate and reasonable under the circumstances in existence
as of April 27, 2004?

° Whether the instructions and training provided to U.S. military personnel in Iraq
regarding life-saving techniques were adequate and reasonable under the circumstances
in existence as of April 27, 2004?

e Whether PFC Whitaker’s decisions on April 27, 2004, regarding the wearing of body
armor; the setting of his vehicle’s speed; the setting of the distance between his vehicle
and the convoy supply trucks; and stopping suddenly on a bridge, knowing that other
convoy vehicles were close behind, were reasonable under the combat situation he faced?

e Whether the conduct of the other individuals involved in this incident, both military and
civilian, was reasonable, given their presence in a combat zone?

° Whether KBR’s actions regarding the selection and training of foreign convoy drivers
were reasonable in light of the control exercised by the U.S. military over that process?
No judicially cognizable standards exist for the Court to make such determinations. To

do so would require the Court to opine as to matters committed to the political branches of the

United States government as well as to impose United States tort standards upon essentially

military operations. This result is particularly inappropriate in this circumstance, because the

U.S. military already has conducted an investigation and determined what corrective actions
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should be taken. For these reasons, the Court should dismiss the case pursuant to the political

question doctrine and combatant activity exception.

II. BACKGROUND

This litigation was commenced on July 21, 2005, when Plaintiffs filed a Complaint
seeking to recover for the death of PFC Whitaker. The Complaint alleges that PFC Whitaker
served in the 2? Armored Calvary Regiment of the United States Army. Complaint, ]8. PFC
Whitaker was a member of the military escort assigned to provide security for supply convoys
transporting cargo within Iraq. Id?

A. The Incident Resulting in PFC Whitaker’s Death Took Place in a Combat
Zone in Iraq

On April 27, 2004, PFC Whitaker was the driver of an armed escort vehicle in a convoy
en route to the Convoy Support Center located at Scania, Iraq. The convoy trucks were being
driven by individuals allegedly employed and controlled by KBR. As the convoy passed over a
bridge, the convoy truck in front of PFC Whitaker’s vehicle hit the bridge guardrail and drove
over the side of the bridge. Jd., 15. PFC Whitaker stopped his escort vehicle on the bridge, but
his vehicle was struck by the convoy truck following behind him. Id., { 16.

The impact pushed PFC Whitaker’s vehicle close to the edge of the bridge. While
attempting to exit the vehicle, PFC Whitaker fell over the bridge into the water below. Other
soldiers attempted unsuccessfully to rescue PFC Whitaker, but they unfortunately were unable to

retrieve him from the water. Given the combat environment, the military escort secured the

2 A substantial question exists whether KBR actually was responsible for the convoy in question.
However, solely for purposes of this motion to dismiss, and reserving its rights to move to
dismiss if it is later determined that KBR was not responsible for the convoy in question, KBR
assumes that the convoy was operated by KBR personnel under U.S. military supervision and
direction.
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perimeter around the accident site against potential insurgent attacks and conducted a search for
PFC Whitaker. His body was recovered a short distance downstream the next day.

The Complaint claims that KBR is liable under the doctrine of respondeat superior for
the negligent conduct of the convoy truck drivers allegedly working under KBR’s direction. The
Complaint also alleges that KBR was negligent in selecting, training, and supervising the truck
drivers. Jd., 4 20.

B. The U.S. Military Uses Civilian Contractors Like KBR to Provide Essential
Support Services in Iraq Under the Protection of Military Personnel

In 1985, the United States Army issued regulations that authorized the use of civilian
contractors to provide selected services in wartime to augment Army forces. See “Logistics
Civil Augmentation Program (LOGCAP),” Army Regulation 700-137 (16 December 1985)
(“A.R. 700-137”) (attached hereto as Exhibit A), at 1-1. The use of civilian contractors frees up
military units to perform other duties. Jd. The major Army commands are required to evaluate
logistical support functions and find an appropriate balance between the use of military
personnel and civilian contractors. Jd. at 2-4. “Risk assessment to both the overall mission and
to the safety of contractor personnel must be considered.” Jd. at 3-1.

Although LOGCAP contractors use civilian personnel, they nonetheless are expected to
work closely with military personnel. Contractor personnel are never placed in a position of
command or control over military personnel. A.R. 700-137 at 3-2(d)(3). However, it is expected
that “the Army will fight as a total force--active and reserve components and civilians.” “Army
Motor Transport Units and Operations,” Army Field Manual 55-30 (15 September 1999) (“F.M.
55-30”) (of which relevant parts are attached hereto as Exhibit B), at 1-1. “Contractor
employees are not under the direct supervision of military personnel in the chain of command”;

however, they are “expected to adhere to all guidance and obey all instructions and general
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orders issued by the Theater Commander.” “Contractors Accompanying the Force,” Army
Regulation 715-9, at 14 (attached hereto as Exhibit C).

Motor transport units are expected to support all inland surface movement requirements
and integrate LOGCAP and other contract support. F.M. 55-30, at 1-1. “LOGCAP is used when
contractor support is determined to be the most effective, expeditious, or cost effective” means of
providing transport assistance. Jd. at 1-11. All aspects of the control, organization, and planning
of convoy operations such as the one in question here are regulated by relevant Army regulations
and directives. See id. at Chapter 5--“(Convoy Control, Organization, and Planning.”

These regulations mandate that convoy escorts and security elements that protect the
convoy from enemy activity are the responsibility of the military. Jd. at 5-4(i). Army
regulations require that standard operating procedures (“SOPs”) be created that encompass the
duties of the convoy commander and other convoy control personnel, convoy organization,
preparation of convoy vehicles, operations security measures, and the maintenance and recovery
of disabled vehicles. Jd. at 5-5. Further, Army regulations specifically address convoy defense
techniques (/d., Chapter 6) and preventative maintenance requirements (/d., Chapter 9).

C. The Army’s Accident Investigation Reveals a Number of Factors That Could
Have Played a Role in PFC Whitaker’s Death

As noted in Plaintiffs’ Complaint, KBR provides combat and combat service support for
the U.S. Army in Iraq. Given that these supply operations often occur in areas that have been
secured by the U.S. military but nonetheless always have the potential for sudden attacks by
hostile forces, the U.S. military provides force protection to contractor employees. The escort
team of which PFC Whitaker was a member was part of that force protection.

The U.S. Army conducted an official accident investigation following PFC Whitaker’s

death. A copy of the “Presentation of Collateral Investigation of Private First Class Marquis A.
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Whitaker” (‘Investigation Presentation’’), as well as related witness statements from the accident
investigation, were provided by Plaintiffs’ counsel to KBR’s counsel and are attached hereto as
Exhibit D.° The report reflects the role of the military and the exercise of its discretion in the
events leading to and following the accident.

The Investigation Presentation indicates that the eight-vehicle convoy was made up of
four military convoy supply trucks and four military escort vehicles. PFC Whitaker was the
driver of the third escort vehicle, which was the fifth vehicle in the convoy. Ex. D, at 9. The
Presentation indicates that the speed of the convoy was set between 35 and 40 miles per hour and
that the interval between vehicles was supposed to be 25 meters. Jd. The convoy was operating
in a “staggered” formation, with the gun truck escorts to the left of the convoy trucks. Jd. at 37.

All of the military witnesses say that they observed, prior to the convoy’s departure that
morning, that one of the foreign nationals who was serving as a convoy truck driver was having
difficulty handling his vehicle. They were told that the individual had not previously driven a

convoy supply truck. Jd. at 39, 44, 50, 54. One of the military escorts asked the commander of

3 KBR is NOT relying on or asserting the truth or correctness of the information or conclusions
of these materials. Instead, as explained below, the materials merely confirm the existence of the
non-justiciable political questions the Court will be called to resolve if it chooses to exercise its
jurisdiction over the matter and allows the case to proceed. To that extent, the report supports
KBR’s argument that the Court should decline to exercise its jurisdiction in this case. See, e.g.,
Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981) (court may look to matters outside the
pleadings when resolving questions of jurisdiction); Dickson v. Ford, 521 F.2d 234, 235 (Sth Cir.
1975) (affirming the dismissal of an action because the case "clearly present[ed] a nonjusticiable
political question beyond the jurisdictional limitations imposed upon federal courts by Art. III of
the Constitution"); Occidental of Umm al Qaywayn, Inc. v. A Certain Cargo of Petroleum, 577
F.2d 1196, 1201 (Sth Cir. 1978) (dismissing action for lack of jurisdiction because it raised a
political question, not a "case or controversy” within the scope of Article III). Cf Bonner v.
Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc) (Fifth Circuit decisions issued prior to
establishment of Eleventh Circuit in 1981 are binding precedent upon Eleventh Circuit).
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the convoy if he could drive the convoy supply truck instead of the foreign national, but that
request was denied. Jd. at 39.

As the convoy approached the bridge, the vehicles still were in a “staggered” formation,
but the interval between the vehicles was minimal. Indeed, PFC Whitaker’s gun truck apparently
was so close to the convoy supply truck in front of it that “at least part of the hood [of the gun
truck] was next to the trailer in front of [PFC Whitaker’s vehicle].” /d. at 37. When the convoy
supply truck in front of PFC Whitaker’s vehicle went off the bridge, PFC Whitaker executed an
evasive maneuver and tried to stop the gun truck on the bridge near where the convoy truck was
lost. However, the convoy supply truck that was following PFC Whitaker’s gun truck was
unable to stop in time and struck the gun truck, pushing it close to the edge of the bridge.

As PFC Whitaker attempted to exit his vehicle, he fell from the bridge into the water
below. Other soldiers attempted to rescue him, but PFC Whitaker panicked and broke free from
his rescuers. Weighed down by the body armor he was wearing, PFC Whitaker was unable to
stay afloat and subsequently drowned. /d. at 20, 45. The military search teams found his body
the next day, a short distance downstream.

The military official investigating the accident recommended that the military “re-
emphasize” to its personnel three important safety measures. First, U.S. military commanders
have the absolute right to reject foreign drivers from convoy operations. Second, personnel must
adhere to those regulations and procedures that set forth the proper placement of escort vehicles
in aconvoy. Third, the military has measures in place to monitor and deal with non-US drivers.

Id. at 33.
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Yl. ARGUMENT

A. The Court Should Dismiss the Claims of the Plaintiffs Because They Raise
Non-Justiciable Political Questions

As demonstrated below, the political question doctrine applies to this case and the Court
should dismiss the Complaint on jurisdictional grounds. Plaintiffs’ Complaint necessarily raises
issues that are committed to the discretion of the political branches of government. Indeed, the
Executive Branch, in this case the United States military, already has performed these
appropriate responsibilities by investigating this incident and concluding that safety measures
and training should be re-emphasized to convoy escorts. Further, no judicially manageable
standards exist to evaluate the propriety of the decisions at issue here: whether the military
properly declined to replace the driver despite the request of the military escort; whether the
convoy was traveling at an appropriate speed and with proper intervals between vehicles;
whether PFC Whitaker acted properly when he tried to stop on the bridge; whether his injury was
attributable in whole or in part to the military’s failure to train him or other members of the
escort on proper convoy and lifesaving procedures; and whether KBR acted reasonably as a
government contractor bound by its obligations under U.S. military regulations.

Article II of the United States Constitution limits judicial power to “cases” and
“controversies.” Courts lack the constitutional jurisdiction or competence to decide political
issues or questions because they do not present cases or controversies within the meaning of
Article III of the Constitution. Occidental of UMM al Qaywayn, Inc. v. A Certain Cargo of
Petroleum, 577 F. 2d 1196, 1203 (5th Cir. 1978); Eveland v. Director of Central Intelligence
Agency, 843 F.2d 46, 49 (1st Cir. 1988). The political question doctrine recognizes both the
constitutional separation of powers among the branches of the federal government, as well as the

inherent limitations of the judiciary. Occidental, 577 F.2d at 1203.

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“Whether an issue presents a non-justiciable political question cannot be determined by a
precise formula.” Saldano v. O’Connell, 322 F.3d 365, 367 (Sth Cir. 2003). In Baker v. Carr,
369 U.S. 186 (1962), the Supreme Court set forth six independent tests for the existence of a
political question outside the proper scope of review of the federal judiciary:

Prominent on the surface of any case held to involve a political
question is found

(1) a textually demonstrable constitutional commitment of the
issue to a coordinate political department; or

(2) a lack of judicially discoverable and manageable standards
for resolving it; or

(3) the impossibility of deciding without an initial policy
determination of a kind clearly for nonjudicial discretion; or

(4) the impossibility of a court’s undertaking independent
resolution without expressing lack of the respect due coordinate
branches of government; or

(5) an unusual need for unquestioning adherence to a political
decision already made; or

(6) the potentiality of embarrassment from multifarious
pronouncements by various departments on one question.

Baker, 369 U.S. at 217; see also State of New Jersey, 91 F.3d at 469 (relying on Baker factors to
apply doctrine). These six independent “tests are probably listed in descending order of both
importance and certainty.” Vieth v. Jubelier, 541 U.S. 267, 278 (2004).

The political question doctrine has been applied in the past by numerous courts to
damage claims brought by military or civilian personnel against defense contractors for wrongful
death and personal injuries allegedly resulting from negligently designed and maintained
equipment used in combat-related scenarios. See, e.g., Nejad v. United States, 724 F. Supp. 753
(C.D. Cal. 1989) (wrongful death action brought by families of Iranian civilians killed in shoot

down of Airbus by U.S.S. Vincennes in Persian Gulf dismissed against military contractors

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under political question doctrine); Bentzlin v. Hughes Aircraft, 833 F. Supp. 1486 (C.D. Cal.
1993) (wrongful death action brought by families of military personnel killed in “friendly fire”
accident during Operation Desert Storm dismissed against defense contractor under political
question doctrine); Zuckerbraun v. General Dynamics Corp., 755 F. Supp. 1134 (D. Conn. 1990)
(wrongful death action on behalf of Navy sailors killed from Iraqi attack on U.S.S. Stark
dismissed against military contractors under political question doctrine), aff’d on other grounds,
935 F.2d 544 (2d Cir. 1991). These past decisions recognized that several of the Baker factors
can be implicated in personal injury lawsuits arising from military incidents, and that conclusion
applies to the instant case as well.

1. The Issues Raised by Plaintiffs’ Complaint Are Constitutionally
Committed to the Political Branches

The political question doctrine “excludes from judicial review those controversies which
revolve around policy choices and value determinations constitutionally committed for resolution
to the halls of Congress or the confines of the Executive Branch.” Japan Whaling Ass'n v.
American Cetacean Soc’y, 478 U.S. 221, 230 (1986). Military decision-making is one such area.
As the Supreme Court explained in Baker, questions touching on national security and foreign
affairs often implicate the political question doctrine, as they “frequently turn on standards that
defy judicial applications or involve the exercise of a discretion demonstrably committed to the
executive or legislature... .” Baker, 369 U.S. at 211.

The conduct of military operations, particularly in a combat scenario, raises non-
judiciable political questions constitutionally committed to the political branches. Article II, § 2,
of the U.S. Constitution grants to the President authority over the conduct of foreign affairs and
over the armed forces to protect the national security of the United States as Commander-In-

Chief. See also United States v. Curtiss-Wright Export Corp., 299 U.S. 304, 319-20 (1936).

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Article I, § 8, grants to Congress authority to raise and support Armies, to provide and maintain a
Navy, and to make rules for the government and regulation of the land and Naval forces. See
also Aktepe v. United States, 105 F.3d 1400, 1404 (11th Cir. 1997) (rebuffing plaintiffs’ efforts
to categorize suit challenging adequacy of military training as “common negligence action” and
affirming dismissal on political question grounds); Dickson v. Ford, 521 F.2d 234, 236 (5th Cir.
1975) (a challenge to foreign military sales involved a political question); Chaser Shipping Corp.
y. United States, 649 F. Supp. 736 (S.D.N.Y. 1986) (plaintiff's claim for damages caused to
vessel when it allegedly hit a CIA mine planted in Nicaraguan harbor is a non-judiciable political
question), aff'd, 819 F.2d 1129 (2d 1987); In re Korean Airlines Disaster, 597 F. Supp. 613
(D.D.C. 1984) (whether military had a duty to warn airliner of proximity to Soviet Union
presented a political question).

The reasoning of these judicial decisions squarely applies in this case. Plaintiffs
challenge the conduct of a defense contractor employed by the United States to provide logistical
support to the United States military in the ongoing conflict in Iraq. The allegations necessarily
call into question the conduct of the military and its handling of its supply convoys used to
support ongoing military operations. For example, the conduct of PFC Whitaker -- driving in
close proximity to the convoy trucks in front of and behind his escort vehicle; attempting to stop
on the bridge, rather than driving to a point of safety on the other side; and wearing and/or failing
to remove his body armor -- likely played a role in his death. Thus, whether PFC Whitaker was
trained properly in convoy control; whether he complied with applicable military regulations and
directives regarding convoy operation; and whether those regulations were adequate to prevent

his death are all relevant inquiries.

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But, these decisions squarely are reserved to the political branches. “It would be difficult
to think of a clearer example of the type of governmental action that was intended by the
Constitution to be left to the political branches.... The ultimate responsibility for these
decisions is appropriately vested in branches of the government which are periodically subject to
electoral accountability. It is this power of oversight and control of military force by elected
representatives and officials which underlies our entire constitutional system ....” Gilligan, 413
US. at 10.

Further, it is clear that the Executive Branch has exercised its oversight and control in this
very matter. After conducting a thorough investigation into the various causes of the accident,
the U.S. military issued several recommendations. These recommendations related to the
remedial training of military personnel regarding the use and supervision of foreign nationals as
convoy drivers as well as the proper spacing of escort vehicles within a convoy. It would be
inappropriate for the Court now to second-guess the military’s decisions and substitute its
judgment regarding the proper response to a military accident occurring in a combat zone.

In brief, the level of protection provided by the United States to military supply convoys
necessarily is left to the discretion of the military. The assessment of potential threats, the
appropriate response level to such threats, the value placed on particular convoys based upon
military needs, and the conduct of military personnel while providing such force protection rests
squarely with the political branches of government, not the courts or private contractors such as
KBR. As such, dismissal under this prong of the Baker test is compelling in the instant case.

2. The Issues Raised in Plaintiffs’ Complaint Are Not Susceptible of
Resolution by Judicially Discoverable Standards

The issues in this case also run afoul of Baker because no judicially manageable

standards exist for their resolution. Indeed, “it is difficult to conceive of an area of governmental

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activity in which the courts have less competence. The complex, subtle, and professional
decisions as to the composition, training, equipping, and control of a military force are
essentially professional military judgments ....” Gilligan, 413 U.S. at 10.

The decision of the United States to use private contractors as support personnel in
foreign lands, under the threat of hostile action, necessarily involves a consideration of security
issues, military strategy, and political implications, both foreign and domestic. Adjudication of
the questions raised in this case effectively would require the Court to make policy decisions in
the realm of national security and military affairs without knowledge or expertise regarding the
formulation, implementation, and ramifications of those policies. See Baker, 369 US. at 211,
217. See also Rappenecker v. United States, 509 F.Supp. 1024, 1030 (N.D. Cal. 1980)
(“[C]ourts lack standards with which to judge whether reasonable care was taken to achieve
tactical objectives in combat while minimizing injury and loss of life.”).

If this case is not dismissed, the Court will be required to evaluate the conduct of the
military, PFC Whitaker, and KBR without having any standards with which to do so. With
respect to the military, the Court will have to determine whether the military exercised
reasonable judgment in refusing to replace the civilian drivers whose conduct is at issue, despite
the requests of the escort personnel. It will have to consider whether the risk of insurgent attack
made it reasonable for the military to require members of the military escort to wear body armor,
whether it was reasonable for the military to require the convoy to maintain a particular speed
with particular vehicle intervals in the face of potential insurgent attacks; and whether the
military properly trained soldiers in Iraq how to prevent potential drownings.

The Court also will have to consider the conduct of PFC Whitaker and decide whether

the speed and intervals he set were reasonable and consistent with military needs. It also will

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have to decide if it was appropriate for PFC Whitaker to attempt to stop on the bridge rather than
continue to the other side before stopping. No judicially cognizable standards exist for such an
evaluation.

The Court lacks such standards even with respect to evaluating KBR’s conduct. The
decisions made by KBR with respect to the selection and training of convoy drivers necessarily
are bound by the standards and regulations set by the U.S. military which, as explained above,
govern every facet of KBR’s participation in the war effort. Whether KBR acted reasonably on
the battlefield in light of those regulations, requirements, and needs cannot be second-guessed in
the quiet of judicial chambers or the calm reflection of the jury room.

In short, these determinations necessarily depend upon the analysis of military needs and
priorities, which will present the Court with a host of issues for which it is simply not equipped
to discern or apply appropriate standards. “Decisions relative to training result from a complex,
subtle balancing of many technical and military considerations, including the trade-off between
safety and greater combat effectiveness. ... Courts will often be without knowledge of the facts
or standards necessary to assess the wisdom of the balance struck.” Aktepe, 105 F.3d at 1404.

3. The Issues Raised By This Case Are Impossible to Decide _Without_an
Initial Policy Determination of a Kind Clearly for Nonjudicial Discretion,

or Without Expressing a Lack of Respect Due to the Coordinate Branches
of Government

Several other factors set forth in Baker also apply in this case. The needs of the military,
the training afforded military personnel, and the standards of interaction between military
personnel and civilian contractors in a combat zone certainly require initial policy decisions
clearly committed to the discretion of the political branches. The judiciary is neither in a
position to make nor review such policy decisions. In fact, as noted, the Executive Branch,

through the military’s investigation of this incident, already has exercised the appropriate review.

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Further, a judicial decision calling into question the military policy of the United States
regarding its ongoing military efforts in Iraq would express a lack of respect due to the
coordinate branches of government that oversee those war efforts. In re Korean Air Lines
Disaster, 597 F. Supp. at 616 (“{D]ecisions which affect the national security . . . involve policy
considerations beyond the scope of judicial expertise” and would “certainly evince a lack of
respect due coordinate branches of government” (citations omitted)).

In short, Plaintiffs’ claims against KBR cannot be separated from the military decisions
of the United States government. This case implicates many of the factors set forth in Baker, any
one of which is sufficient to render the matter non-justiciable.

B. The Court Should Dismiss Plaintiffs’ Complaint Because the Incident Arose
As Part of Combatant Activities During Time of War

An additional, independent basis for dismissal of this case exists. The state law claims
asserted by Plaintiffs are preempted by federal law -- specifically, the combatant activities
exception contained within the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 2680(j). The
FTCA, 28 U.S.C. §§ 2671-2680, together with 28 U.S.C. § 1346, creates a cause of action
against, and constitutes a waiver of sovereign immunity by, the United States for actions in tort.
The FTCA contains a number of exceptions to this general rule, including § 2680(Q), which
excludes “any claim arising out of the combatant activities of the military or naval forces, or the
Coast Guard, during time of war.”

This exception to the FTCA’s waiver of sovereign immunity does not apply directly to
government contractors. However, the principles underlying the exception have been extended
to defense contractors. Koohi v. United States, 976 F.2d 1328 (9th Cir. 1992); Bentzlin v.
Hughes Aircraft, 833 F. Supp. 1486 (C.D. Cal. 1993). In Koohi, the Ninth Circuit relied on the

FTCA’s combatant activities exception to bar state law claims against a weapons manufacturer

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for injuries sustained during the Iran-Iraq “tanker war” of the 1980s. The plaintiffs in Koohi
sought compensation from the United States and from private weapons manufacturers after a
U.S. naval cruiser, the U.S.S. Vincennes, mistook a civilian aircraft for a military flight and shot
it down. 976 F.2d at 1330. The court held that the United States had not waived its sovereign
immunity because of the FTCA’s combatant activities exception.

The court held further that the same exception preempted the plaintiffs’ claims against
the private contractors who designed and manufactured the weapon systems that were used to
shoot down the civilian aircraft.* Jd. at 1336-37. While recognizing that private parties cannot
assert a sovereign immunity defense, the Koohi court noted that “the Supreme Court has
recognized that the exceptions to the FTCA may preempt common law tort actions against
defense contractors under certain circumstances.” /d. at 1336. The Koohi court found that the
combatant activities exception is one such instance of preemption.

The Bentzlin court adopted the reasoning of Koohi and applied it to circumstances
involving U.S. military personnel. In Bentzlin, a group of U.S. Marines were killed during
Operation Desert Storm when a missile intended for an Iraqi target hit the Marines’ truck instead.
The families of the Marines brought suit against the manufacturer of the missile, asserting that it
“negligently and carelessly manufactured, tested, inspected, stored, transported, distributed and
controlled" the missile. 833 F. Supp. at 1487. Thus, the case centered around defective product

and defective service allegations. Relying on Koohi, the court dismissed the case. /d. at 1494.

* The court recognized that “time of war” does not require a formal declaration from Congress.
Instead, the FTCA exception applies whenever the Executive Branch makes a deliberate decision
to engage United States armed forces “in an organized series of hostile encounters on a
significant scale with the military forces of another nation.” Jd. at 1335.

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Both the Koohi and Bentzlin decisions found that the three principles of tort
law -- deterrence, punishment, and remedy to innocent victims -- are inconsistent with the
conduct that occurs in combat zones. First, in times of war, caution must often give way to “bold
and imaginative measures” needed to achieve victory. Concerns about tort liability cannot be
permitted to deter participants from taking fast action in combat situations. 976 F.2d at 1335.
Second, the government, as well as the government contractors that support the government,
should not be punished for mistakes made during war. Jd.; see also Bentzlin, 833 F.Supp. at
1493 (military is in the best position to sanction non-performing government contractors). Third,
there is a federal interest in seeing that casualties of war, no matter how sustained and by whom,
are subject to uniform treatment. Jd. As the court in Bentzlin recognized when it applied the
holding of Koohi to injuries sustained by U.S. military forces, “[d]eaths and injuries of soldiers
in war arise from a plethora of circumstances, many of which may be judged to involve some
degree of fault. Unsuccessful military strategy, unwise orders by individual officers and
mistakes by fellow soldiers all lead to the loss of life, and these causes clearly do not give rise to
civil liability... In a wartime context, state law cannot establish the duty of care owed to

American soldiers who necessarily assume the risk of death.” 833 F. Supp. at 1494°

> In a recent decision, the Honorable Nancy F. Atlas, United States District Judge for the
Southern District of Texas, declined to apply the combatant activities exception to a tort case
brought against KBR by a civilian convoy driver for injuries sustained in Iraq from an insurgent
attack. Fisher v. Halliburton, C.A. No. H-05-1731, July 1, 2005 (attached hereto as Exhibit E).
Judge Atlas incorrectly distinguished the Koohi and Bentzlin cases as dealing with allegedly
defective products provided to the government, rather than services provided to the government.
In fact, Koohi and Bentzlin, like the instant case, included allegations of negligent services, ¢.g.,
inspection and testing, against the military contractors in those cases. Further, there is nothing in
the reasoning of the Koohi and Bentzlin decisions that limits their effect to product cases.
Whether a civil case involves products or services, “civilian state law standards cannot be
applied to those who suffer the tragedies contemplated in war.” Bentzlin, 833 F. Supp. at 1494.

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In the instant case, just as in Bentzlin, a negligence suit has been brought against a
military contractor for injuries sustained by U.S. military personnel engaged in combatant
activities. The ongoing hostilities in Iraq certainly are of sufficient magnitude to constitute a
time of war within the meaning of the FTCA. Thus, this Court should follow the reasoning in
Bentzlin and Koohi.

The convoy duties performed by KBR are an integral part of the ongoing military
activities of the United States in the hostile territory of Iraq. KBR stands together with the
military in the operations in Iraq, and imposing liability on it would serve to create duties that
potentially could cause contractors supporting the military in time of war to fail in their role to
support the military effort. It would be an unwise policy indeed that caused government
contractors in combat zones to resist or second-guess the actions and orders of their military
escorts for fear of potential tort liability. Further, such liability concerns might cause contractors
to refrain from participating in any military support contracts whatsoever, leaving the military
without the support it needs to fulfill its combat missions. The combatant activities exception
precludes imposing liability that could have such an effect on the conduct of war by the
Executive Branch.

IV. CONCLUSION

For the foregoing reasons, Defendant KBR respectfully requests that Plaintiffs’ Original

Complaint be dismissed with prejudice.

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Respectfully submitted, this 19th day of October, 2005.

MCKENNA LONG & ALDRIDGE LLP

/s/ Jonathan R. Friedman
Jonathan R. Friedman
Georgia Bar No. 277720
303 Peachtree Street, Suite 5300
Atlanta, Georgia 30308
(404) 527-4000
jfriedman@mckennalong.com

OF COUNSEL:

Raymond B. Biagini

Kurt J. Hamrock

Lisa M. Norrett

MCKENNA LONG & ALDRIDGE LLP
1900 K Street, NW

Washington, DC 20006

(202) 496-7500

Attorneys for Defendant
Kellogg Brown & Root, Inc.

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CERTIFICATE OF SERVICE

I hereby certify that on October 19, 2005, I electronically filed this Defendant Kellogg
Brown & Root, Inc.’s Memorandum in Support of Motion to Dismiss Pursuant to Rule 12(B)
with the Clerk of Court using the CM/ECF system which will automatically send email
notification of such filing to the attorney of record:

C. Frederick Overby, Esq.
Overby Law Office, P.C.

P.O. Box 1975
Columbus, Georgia 31902

/s/ Jonathan R. Friedman
Jonathan R. Friedman

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